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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF NEW YORK

 Association of Jewish Camp Operators,                )
                                                      )
 Samuel Werzberger, MD, FAAP,                         )     Case No. 1:20-CV-0687 (GLS-DJS)
                                                      )
 Ariela Orkaby, MD, MPH,                              )
                                                      )
 Beth Statfeld,                                       )     NOTICE OF APPEARANCE
                                                      )
 Gail Zahtz,                                          )
                                                      )
                  Plaintiffs,                         )
                                                      )
         v.                                           )
                                                      )
 Andrew M. Cuomo, Governor of the                     )
 State of New York, in his official capacity,         )
                                                      )
                  Defendant.                          )

TO THE CLERK OF THE COURT AND ALL COUNSEL OF RECORD:

       PLEASE TAKE NOTICE that the undersigned attorney hereby appears as counsel for

Plaintiffs Association of Jewish Camp Operators, Samuel Werzberger, Ariela Orkaby MD, MPH,

Beth Statfeld and Gail Zahtz in the above-captioned action. I certify that I am admitted to practice

in this Court. All notices given or required to be given and all papers filed in this action shall be

served upon the undersigned.

Dated: June 29, 2020
       New York, New York
                                                       TROUTMAN SANDERS LLP

                                                       /s/ Avi Schick
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